Case 4:22-md-03047-YGR   Document 381-1   Filed 10/10/23   Page 1 of 2




               EXHIBIT 1
          Case 4:22-md-03047-YGR                  Document 381-1
Merritt v. Planned Parenthood Fed'n, --- S.Ct. ---- (2023)
                                                                             Filed 10/10/23          Page 2 of 2
2023 WL 6377901

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                                                                                         October 2, 2023
                   2023 WL 6377901
      Only the Westlaw citation is currently available.
                                                                 Case below, 51 F.4th 1125.
            Supreme Court of the United States.
                                                                 Opinion
              Sandra S. MERRITT,                                 *1 The petition for writ of certiorari is denied.
                        v.
        PLANNED PARENTHOOD FED'N, et al.
                                                                 All Citations
                         No. 22-1147
                                                                 --- S.Ct. ----, 2023 WL 6377901 (Mem)

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